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                                                                                           Oct 14, 2021

                              IJM TED STA TES DISTR ICT C OU RT
                              SO U TH ERN D ISTR ICT O F FLO W DA
                   21-20528-CR-WILLIAMS/MCALILEY
                        C ase No.
                                         18U.S.C.j19561)
                                         18U.S.C.j1956(a)(1)(A)
                                         18U.S.C.j2
                                         18U.S.C.j1956(a)(1)(B)
                                         15U.S.C.j78dd-2
                                         15U.S.C.j78dd-3
                                         18U.S.C.j981(a)(1)(C)
                                         18U.S.C.j982(a)(1)
    UN ITED STATES OF AM ERICA

    VS.

    JORGE CHERREZ M IXO,and
    JO HN LU ZU RIAG A A GU IN AG A ,

                         Defendants.
                                                 /

                                           IN DICTM ENT

           The Grand Jury chargesthat:

                                   G EN ER AL ALLEG ATION S

           Atalltim esrelevantto thisIndictm ent,unlessotherwise specified:

                           RELEVA NT STATUTO RY BA CK G RO UN D

                  The Foreign Corrupt Practices A ctof 1977,as am ended,Title 15,U nited States

    Code,Sections78dd-1,etseq.(theGTCPA''),wasenactedbyCongressforthepurposeof,among
    otherthings,m aking it unlaw fulfor çertain classes of persons and entities to act conuptly in

    furtherance of an offer,prom ise,authorization,or paym ent of m oney or anything of value to a

    foreign governm entofficialforthepurposeofinfluencingtheforeign official,inducing the foreign

    ofGcialto take or om itcertain acts,and securing an im proper advantage in orderto assistthose

    classesofpersons in obtaining orretaining businessfor,ordirecting businessto,any person.
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                          RELEVA NT INDIW DUA LS AND EN TITIES

           2.     Instituto de Seguridad Social de la Policia Nacional (LISSPOL'') was the
    Ecuadorian public institution responsible form anaging the tinancialcontributionsby Ecuadorian

    police officerstow ard theirsocialsecurity.ISSPOL wascontrolled by thegovernm entofEcuador

    and perform ed a function thatEcuador treated as its own,and was an (Einstrum entality''ofthe

    Ecuadorian governm entasthatterm isused in the FCPA ,Title 15,United States Code,Sections

    78dd-2(h)(2)(A)and78dd-3(t)(2)(A).
                  GSU.S.Investm entFund Com panies,''theidentitiesofwhich are known to thegrand

    jury,werea group ofcompaniesincomorated in Florida. Each oftheU.S.InvestmentFund
    Com panieswasa Gçdom estic concem ''asthatterm is defined in the FCPA ,Title 15,U nited States

    Code,Section78dd-2(h)(1)(B).
           4.     DefendantJORGE CHERREZ M IX O wasa citizen ofEcuadorwho served as
    the m anager, president, and director of the U .S. Investm ent Fund Com panies. JO R GE

    c'
     H-li
        m lzF,
             z M l#o wasanofficer,director,employee,andagentofaççdomesticconcern''asthose

    termsareusedintheFCPA,Title15,UnitedStatesCode,Section78dd-2(a).
                  D efendant JO H N LUZURIAG A A G UIN AG A w as a citizen of Ecuador who

    served asthe ISSPOL Risk Director from atleastin or around 2014 through atleastin oraround

    2019. JOH N LU ZU RIA G A AG UINA GA also served on ISSPOL'SInvestm entCom m itlee and

    had influence over ISSPOL investm ent decisions. JOH N LU ZURIAG A AG UINA GA was a

    (Toreign official''asthatterm is used in the FCPA ,Title 15,United States Code,Sections78dd-

    2(h)(2)(A)and78dd-3(9(2)(A).
           6.     EECHERREZPanamaCompany1,''theidentityofwhichisknowntothegrandjury,
    was a Panam a registered company that obtained lucrative ISSPOL investm ent m anagem ent
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    business.CHERREZ PanamaCompany 1wascontrolledbyJORGE CHERREZ M IXO.

                    KGCI-IERREZPanamaCompany2,''theidentityofwhichisknowntothegrandjury,
    wasaPanamaregisteredcompanythatwascontrolledbyJORGE CHERREZ M l#O.
           8.       Deposito Centralizado de Compensacion y Liquidacion de Valores DECEVM E

    S.A.(çr ecevale'')wasan Ecuadorian corporationthatoperated acentralizeddepository forthe
    clearing and settlem ent of securities. 1ts controlling shareholders w ere the Stock Exchanges of

    Guayaquiland Quito,Ecuador. D ecevale acted as a clearinghouse and custodian for ISSPOL
    investm ents.

           9.       LuisAlvarezVillamar(çGAlvarez'')wasacitizenofEcuadorwhobeganworkingat
    D ecevale in or around 2003 and was the Operations M anager atD ecevale untilapproxim ately

    October2020.

                                               CO UNT 1
                 (ConspiracytoCommitM oneyLaundering- 18U.S.C.j1956(h))
                    Paragraphs 1 through 9 of the General A llegations Section are re-alleged and

    incorporated by reference asthough fully setfol'
                                                   th herein.

           2.       From in oraround 2014,continuing untilatleastin oraround 2020,in the Southern

    D istrictofFlorida,and elsew here,the defendants,

                                   JORGE cu llm xz M lRo and
                                  zouxLuztlmAcAAGCIQ GA
    did know ingly and voluntarily com bine,conspire,confederate,and agree w ith each other,and

    personsknown and unknown to the Grand Jury,to com m itan offense againstthe United States,

    thatis:

           a.       To knowingly conduct,and aid,abet,and cause othersto conduct,and attemptto

                    conduct,financialtransactions affecting interstate and foreign com m erce,which
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                  transactionsinvolved the proceedsofspecified unlawfulactivity,know ing thatthe

                  property involved in the financialtransactions represented the proceeds of som e

                  form ofunlawfulactivity,with the intentto prom ote the carrying on ofspecified

                  unlaw ful activity, in violation of Title 18, United States Code, Section

                   1956(a)(1)(A);
           b.     To know ingly conduct,and aid,abet,and cause othersto conduct,and attemptto

                  conduct,financialtransactions affecting interstate and foreign com m erce,which

                  transactionsinvolved the proceedsofspecified unlawf'
                                                                     ulactivity,know ing thatthe

                  property involved in the financialtransactions represented the proceeds of som e

                  form ofunlaw fulactivity,and thatthefinancialtransactionsw eredesigned in whole

                  and in part, to conceal and disguise the nature, the location, the source, the

                  ow nership, and control of the proceeds of said specified unlaw ful activity, in

                  violationofTitle18,UnitedStatesCode,Section 1956(a)(1)(B).
           Itisfurtheralleged thatthe specified unlawfulactivity isthe following:(a)a felony
    violation oftheFCPA,Title 15,United StatesCode,Sections78dd-2 and 78dd-3;and (b)an
    offense againsta foreign nation,specifically Ecuador,involving bribery of a public ofticial,and

    the m isappropriation,thefq and em bezzlem entof public fundsby and forthe benefitof a public

    official,asprovidedbyTitle18,UnitedStatesCode,Section 1956(c)(7)@ )(iv).
                                PURPO SE OF TH E CO NSPIR ACY

           lt was the purpose of the conspiracy for the defendants and their co-conspirators to

    unlaw fully enrich them selvesby engaging in a schem e to bribe Ecuadorian officialsto obtain and

    retain contractsand other business advantages,including obtaining contracts to actas ISSPOL'S

    investm entadvisor,and to launderbribes,proceeds,and otherfundsrelated to the corruptschem e


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    into and through accountsin the United States in orderto prom ote the illegalbribery schem e and

    to concealthe nature and purpose ofthe proceedsofthe illegalbribery schem e.

                         M ANN ER A ND M EAN S OF TH E CO NSPm ACY

           Themannerandmeansby which JORGE CHERREZ M IXO,JOHN LUZURIAGA
    AG U INA G A, and their co-conspirators sought to accom plish the purpose of the conspiracy

    included, am ong other things,the follow ing conduct in the Southern D istrict of Florida and

    elsewhere:

                  JORGE CHERREZ M I#O,togetherwithothers,whileintheSouthern District
    ofFlorida and elsewhere,did offer,prom ise,pay,and authorize the paym entofbribes,directly

    and indirectly, to and for the benefit of foreign officials in Ecuador, including JOH N

    LUZURIA GA A G UIN AG A and others,to secure their assistance in aw arding contracts and

    ProvidingbusinessadvantagestoJORGE CHERREZ Mï#O andhiscompanies.
                  From at least in or around 2014 through at least in or around 2020,JOR G E

    CHERREZ M IXO andtheU.S.InvestmentFundCompanieshecontrolledpaidmorethan$2.6
    million to ISSPOL officials- including approximately $1,397,066 for the beneft of JOHN
    LUZURIA GA A G UINA GA- in exchange for JOH N LUZU RIA G A A GU IN AG A and the

    otherISSPOL officialsusingtheirofficialpositionsto assisttheU .S.Investm entFund Com panies,

    JORGE CHERREZ M TMO,and otherstoobtainandretainbusinessforJORGE CHERREZ
    M 1#O,CHERREZ PanamaCompany 1,andothers.
                  JORGE cle luzEz M r:o andJOHN LUZIJRIAGA AGUINAGA,together
    w ith others,while in the Southern DistrictofFlorida and elsewhere,did discuss in person and by

    otherm ethodsofcom m unication the m annerand m eansby which bribesw ereto be paid.




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           6.     JORGE cuxuuli
                              :z M l#o,togetherwith others,whileintheSouthernDistrict
    of Florida and elsewhere, used the U.S. Investm ent Fund Companies, CHERREZ Panam a

    Company 1, CHERREZ Panam a Com pany 2, and bank accounts controlled by JO RG E

    CHERREZ M IXO andotherstopromotetheillegalbriberyschemeandtoconcealthenatureand
    purpose ofthe proceeds ofthe illegalbribery schem e.

                                      Investm entTransactions

                  From at least in or around 2014 through at least in or around 2019,JOH N

    LUZUW A GA A GU INA G A ,astheRisk DirectorofISSPOL and sitting on ISSPOL 'SInvestm ent

    Com m ittee,had influence over ISSPOL investm ent decisions,including w ho ISSPOL hired to

    investits funds.

           8.     In or around D ecem ber 2015 and January 2016, ISSPOL entered into a Gtsw ap

    transaction''agreem entwith CHERREZ Panam a Com pany 2,which w asreview ed and approved

    by JO H N LU ZURIA GA A GUINA G A and others. The sw ap transaction w as designed so that

    companiescontrolledbyJORGE CHERREZ M I#O wouldobtainlocalEcuadorianbondsfrom

    ISSPOL andinvestthem inGlobalDepositoryNotes($$GDNs'').TheGDNSmadepaymentsona
    setpaym ent schedule that included interest and principalto com panies controlled by JO R GE

    CHERREZ M IXO.lnexchange,companiescontrolledbyJORGE CIIERREZ M I#O wereto
    m ake paym entsto ISSPOL on a sim ilarpaym entschedule.

                  Aspa14oftheswaptransaction,JORGE CHERREZM lXO'scompaniesreceived
    m ore m oney earlierand m ore m oney overallat the expense of ISSPOL.For exam ple,in 2017,

    CHERREZ Panama Company 1 received approximately $40.5 m illion as a resultofthisswap
    transaction,whereas ISSPOL received approximately $20 million. As a result,between in or




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    around2016andinoraround2019,JORGE CHERREZ M I#O,throughhisPanamacompanies,
    profitedapproxim ately $65million onthisswaptransaction.
           10.    CHERREZ Panam a Com pany 1received itspaym entsresulting from the corruptly

    obtained sw ap transaction in itsbank accountin the U nited States. A portion ofthatm oney w as

    transferred into U .S.Investm entFund Com panies'bank accountsin the United States.

           11.    From atleastin or around 2014 through atleast in or around 2019,ISSPOL and

    CH ERREZ Panam a Com pany 1 entered into bond repurchase transactions whereby CHERREZ

    Panam a Com pany 1 sold bondsto ISSPOL with a prom ise to repurchase the bonds ata setdate

    fora setam ountthatincluded interest.

           12.    CHERREZ Panam a Com pany 1 failed to m eetpaym entobligationsto ISSPOL on

    m orethan halfofthebond repurchasetransactions.Asofin oraroundA ugust2020,approxim ately

    $111million inrepurchaseagreementswereoverdueoutofatotalofapproximately$205million.
                              Briberv and M onevLaunderinz Schem es

                  From at least in or around 2014 through at least in or around 2020,JO R GE

    CHERREZ M IXO directed paymentsto JOHN LUZURIAGA AGUINAGA in atleastthree
    ways:(1) payments totaling approximately $419,226 made by checks payable to JOHN
    LUZUW AGA AGUINAGA;(2)paymentstotalingapproximately$663,000madetorelativesof
    JOHN LUZIJRIAGA AGUINAGA forhisbenefit;and (3)paymentsto a U.s.-based bank
    account in the nam e of one of the U .S.lnvestm ent Fund Com panies and for which JO RG E

    CH ERREZ M IXO held signatory authority,butforwhich JOIIN LUZURIAGA AGUINAGA
    held a debitcard in his ow n nam e thatJOH N LUZURIA GA A GU IN A GA used forpurchases

    and cash withdrawalsofapproximately $313,840.




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           14.     From in or around Decem ber 2015 through in oraround January 2016,JO RG E

    CHERREZ M IXO andJOHN LUZURIAGA AGUINAGA exchangednumeroustextmessages
    regarding theclosing ofthe sw ap transaction w ith ISSPOL.

           15.     On oraboutDecember 31,2015,JO H N LU ZUR IA G A A G UINA GA senta text

    messagetoJORGE CHERREZ M 1:0 (translatedfrom Spanish)stating,Gtg-fjhankyouforfixing
    m y financiallife and thatofm y fam ily.''

           16.     OnoraboutFebruary23,2016,JORGE CHERREZ M I#O causedatransfervia
    check from a U .S.lnvestm ent Fund Companies'bank account in the am ountof approxim ately

    $80,000 to a relative of JOHN LUZURIAGA AGUINAGA . The relative of JOHN
    LUZURTAG A A G UINA GA deposited the check in aU .s.-based balzk account.

                   O n or aboutD ecem ber 9,2017,JOH N LUZURIAGA A G UINA GA senta text

    messageto JORGE CHERREZ M IMO directing JORGE CHERREZ M 1#O to putC110''into
                                                                    .




    an account for one relative of JO H N LUZIJRIA G A AG UINA GA and another :6107'into an

    accountfora differentrelative ofJO HN LU ZU RIA G A A GUINA G A.

           18. OnoraboutDecember12,2017,JORGE CHERREZ M1*0 causedtwoseparate
    checksforapproximately $10,000 each to be issued from the U.s.-based balzk accountsofU.S.
    Investm ent Fund Com panies to the two relatives identified by JOH N LU ZUR IA G A

    A GUINA GA . These checksw ere deposited in U .s.-based accounts.

                   O n oraboutJanuary 12,2018,w hile in the SouthenzD istrictof Florida,JOR GE

    CHEQREZ M .
              180 sent text messages to JOHN LUZURIAGA AGUINAGA requesting
    inform ation regarding ISSPOL investm ents and whether the m oney had been credited. JO H N

    LUZUR IAG A AG UINA GA confirm ed the m oney had been credited and JO R GE CH ER REZ

    M I#O stated this was (translated from Spanish) itgood news.'' JOHN LUZURIAGA


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    AGIJINAGA stated the amountISSPOL had to investand JORGE CHERREZ M IXO told
    JOH N LUZUR IA GA A G UINAG A he w as w orking on it and sent a text m essage stating

    :147908 ''

           20.     On or about January 12, 2018, JORGE CHERREZ M l#O caused U.S.
    InvestmentFund Companiestotransferapproxim ately $47,908into aU.s.-basedbank accountin
    thenameofEGportafolioJL''overwhichJORGE CHERREZ M IXO hadsolesignatoryauthority,
    but for which JORGE CHERREZ M l#O had caused a debit card to be issued to JOI-
                                                                                 IN
    LU ZU RIA G A AG UINA GA . The Ctportafolio .
                                                1L5'bank accounthad been opened in or around

    November2014 intheSouthernDistrictofFloridabyJORGE CHERREZ M 180 andfunded
    by CH ERREZ Panam a Company 1and the U .S.Investm entFund Com panies.

           21.     Thatsam e day,on oraboutJanuary 12,2018,JORGE CHERREZ M ISO also
    caused U.S.InvestmentFund Companiesto transferapproximately $47,908intoanotheraccount
    nam ed Ctportafolio''follow ed by the initialsofa second officiallocated in the Southern Districtof

    Florida. This accountw as sim ilar to the Portafolio .
                                                         TL accountand w as held forthe benefitofa

    second ISSPOL ofûcialwho w as involved in approving ISSPOL'S investm ents with JO R GE

    CHEQREZ M IXO'scompanies.
           22.     On or about June 14, 2018, JORGE CHERREZ M I#O and JOHN
    LU ZUR IA G A AG UINA GA exchanged textm essages regarding ISSPOL investm ents. D uring

    thiscommunication,JOHN LUZURIAGA AGUINAGA sentJORGE CHERQEZ V I#O an
    im age ofa spreadsheetthatshow ed differentISSPOL investm entsand a line item forpercentages

    ow ed to individuals,including an individual identified as CC.
                                                                 TL.'' The total ow ed to J.
                                                                                           L on this

    spreadsheetwasapproximately $289,226.




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           23.    OnoraboutJune15,2018,JORGE CHERREZ M I#O causedaU.s-basedbank
    account of U .S. lnvestm ent Fund Companies to pay JOH N LU ZURIA GA A GU INA G A

    approximately $189,226viacheck.Thecheckwasdepositedthesameday intheSouthernDistrict
    ofFlorida into an accountcontrolled by JOH N LUZUW A GA AG UINA G A .

           24.    OnoraboutFebruary27,2019,JORGE CHERREZ M IXO,whileintheSouthern
    DistrictofFlorida,withdrew approxim ately $15,000 in cash from the Portafolio .
                                                                                  JL debitcard
    account to purchase a cashier's check payable to a relative of JO H N LU ZURIA GA

    A G UINAG A .

           25.    OnoraboutM ay 2,2019,JORGE CTIERREZ M IX'
                                                          O causedaU.s-basedbank
     account of U .S. lnvestm ent Fund Companies to pay JO H N LU ZUW A GA A G U NA GA

     approximately $40,000viacheck.Thecheck wasdepositedataU.S.bank intheSouthernDistrict
     ofFlorida on oraboutM ay 6,2019.

                  JORGE CHERREZ M 180 alsomadepaylnentsto otherISSPOL officialswho
     approved ISSPOL'S investm entsw ith hiscom pany. Forexample,between on oraboutN ovem ber

     3,2014andon oraboutFebruary5,2016,JORGE CHERREZ M IXO causedU.S.lnvestment
    FundCompaniestotransferapproximately $315,513forthebenefitofathirdISSPOL ofscialwho
    had influence overISSPOL'Sinvestm entdecisions.

                  Further,betw een on or aboutN ovem ber22,2017,and on or aboutD ecem ber 19,

    2017, JORGE CHERREZ M I#O caused U.S. lnvestment Fund Companies to transfer
     approximately $114,164 forthebenefitofthedaughterofafourth seniorofficialatISSPOL who
     approvedISSPOL'SinvestmentswithJORGE CHERREZ M I#O'scompanies.
           28.    Between in oraround 2014 and in oraround 2019,JORGE CHERREZ M IVO
     also caused bank accountshe controlled to transferapproximately $3,155,671 forthe benefitof


                                                    10
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    A lvarez,including deposits m ade in the Southern District of Florida,in exchange for A lvarez

     giving JORGE CHERREZ M I#O controloverthe ISSPOL investmentsunderDecevale's
     custody.Thispermitted JORGE CHERREZ M I#O to actasinvestmentadvisorand custodian
     ofISSPOL assets.JORGE CHERREZ M-1*0 causedAlvareztoconcealthefactthatDecevale
     did nothave custody overthe ISSPOL assets by creating false and backdated contracts.

            AllinviolationofTitle18,UnitedStatesCode,Section 1956(h).
                                             COU NTS 2-3
                                     Prom oting U nlaw fulActivity
                                  (18U.S.C.bb1956(a)(1)(A)(i)and2)
                   Paragraphs 1 through 9 of the General A llegations Section and paragraphs 1

     through 28 of the M anner and M eans Section of Count 1 are realleged and incorporated by

     reference asthough fully setforth herein.

                   On or about the dates set forth in each Countbelow ,in the Southem D istrictof

     Florida and elsewhere,the defendants,

                                    JORGS cltsltuxz Mm o and
                                  ZOHNLVZVRIAGAAGCIQ GA,
     did knowingly conduct, and aid, abet, and cause others to conduct, and attem pt to conduct,

     financialtransactionsaffecting interstate and foreign com m erce,w hich transactions involved the

     proceeds of specified unlaw ful activity, know ing that the property involved in the financial

     transactions represented the proceeds of som e fonu of unlaw fulactivity,and that the Gnancial

     transactionswere designed in whole and in parq with the intentto promotethe canying on of

     specified unlaw ful activity. lt is fulher alleged that the specified unlawful activity is the

     following:(a)afelonyviolationoftheFCPA,Title15,UnitedStatesCode,Sections78dd-2and
     78dd-3;and(b)an offenseagainstaforeignnation,specifically Ecuador,involving bribery ofa
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       lnnqacéonsweredesir ed in wholeand itipart,to concealand disguisethenature,the location,

       the som ce,the ownership,
                               'and conkolofthe proceedsofsaid specifed 'mlaqvfulactivity. Itij

       flxrfherallegedthatthespeciledxullqwfulactivityistilefollowillg: (a)afelony violation oftlzè
       FCPA,Title 15,United StatesCode,Sections78dd-2 and 78dd-3;atz (b)an offenseagninAta
       foreiN    nation, specifcally Ectmdor, ilw olving bribery of a public om cial, and tlle

       m inappropriationo thel,and em bezzlem ent of public fhnds by and for tlle beneft of a public

       ox cial,purslmnttoTitle 18,Unite'd StatesCode, Section 1956(c)(7)(B)(iv):
                                         -    -                    '                         '
                          ..                        .   ..- .

            Count      Approxxm ateD ate '                      D escription ofTransaction


   .
       '        4         M ay 30,2017       W ire kansferilzthe am olmtofapproxim ately $100,090
                                             9om a bank accotm tconkolled by JO R GE CH EQQ EZ
                                             M 1X0 in the Southem District of Florida to a bank
                                             accotmtin theM iddleDisz ctofFloridaheld in thename
                                             of a relative ofJO> LU ZIFIH AG A A G UU A G A for
                                             the benestofJO > LUZIm TAGA AG IM A GA .
                5         M ay 18,2018       Transfer via check in tlze am olm t of approxim ately
                                             $200,000 issued 9om a bank account conkolled by
                                             JORGE CHERQEZ M 1X0 in the Southem Districtof
                                             Florida to a relative of JO >        LUZIm TA GA
                                             A GUU A GA ,for the benest of JO H N LUZITRIA GA
                                             A GUU A G A-


                Jnviolation ofTitle18,UnitedStatesCode,Sedions1956(a)(1)(B)and2.
                                              COU N I'S 6-7
                                      Foreign CorruptPracticesAct
                                    (15U.S.C.j78dd-2;18U.S.C.j2)
                      Parap aphs 1 through 9 of the G eneral M egations Section and parap apbs 1

       through 28 of the M nnner and M eu s Section of Count 1 are realleged and incom orated by

       reference asthough fnlly setforth herein.

                2.    O n or aboutthe dates set forth in each Colm tbelow ,illthe Southem D isi ct of

       Floridaand elsewhere,the defendnnt,
                                                        13
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                                       JORGE tH ERREz hHso,
    beinganox cqr,director,emp1oyee,andagentofadomesticconcem ,(Iidwillfilllyuseandcause
    tobeused and aid,abet,cmmsel,command,induce,andprocuretlleuseofthemailsand am eans

    ând instnunentality ofinterstate com m erce conuptly in fixrfllerance ofan ofer,pam ent,prom ise

    to pay,and authon'zntion ofthepaym entofm oney,ofer,giA,promise to give,and authorizmtion

    oftlle giving ofanythm
                         ' g ofvalueto a foreiN Qfscial,and to a persoh,wM le H owing thatallaùd

    aportion ofsuchmoneyandfbingofvaluewôuldbeandhadbeen offere; given,andprùmiàed,
    directlyandilldirectly,toaforeiN
                                   ' om cial> forpuposesof:(i)influencinjanactand'decision'
                                              .
                                                                                          of ''
    '


    SUCh forei> oo cialln hisofheroflciklcapacity;(ii)inducingsuch foreiN oo cialtodo and '
                       -
                               J        .
                                                        '   '          .
         .                                                                                   .
                           k
    omitto do allactm violation oftlze lawfulduty ofsuch om cial;(iii)secllring an M proper
    advantage;and (iv)inducing such forei> offcialto usehisorherinfluelice with a foreil
    governm èntand agenciesand instrnm entalitiesthereofto affectand influence atlàctand decision

    of such govenlm entmzd agencies and M fnunentalities,illorder to assistU .S.Investm entFtm d

    Com paaies and others in obtaining and retaining businessforand w ith,and directing businessto,

    JORGE CHEQQEZ M IRO,U.S.Jnvese entFlm dCompanies,andothers:

         Count   .
                     Appr
                      - * oxx
                            -mat
                              5 eDat
                                   e        M eansandV strumentalitiesofInterstateCommerce

             6       January 12,2018        W ire tmnsfer in the amotmt ofapproximately $47,908
                                            9om a bank accountconpolled by JOR G E G IEQQ EZ
                                            M 150 illthe Southem DistrictofFloridato tllePoX olio
                                            J1, accotmt for the beneft of JO H N LU ZITRTAG A
                                            A G UU AG A .
             7       M arch 5,2020          Text m essage exchange between JO R GE CH EQQ EZ
                                            M lRo and another individual,who wms located in the
                                            Southem Disu ctofFlorida,relating to delivery of three
                                            checb to Jo >          LU ZITRTA GA A G UG A GA in
                                            fllrlberance oftheillegalbribety schem e.




                                                      14
Case 1:21-cr-20528-KMW Document 30 Entered on FLSD Docket 10/15/2021 Page 15 of 22



                                   '                                      .
             .
           1.
            h violation ofTitlé 15,United StatésCode,Section 78dd-2,and Title 18,United States.

    Code' Section 2. ''
                 .




                                                CO UN T 8
                                       Foreign CorruptPractices Act
                                  (15U.S.C.j78dd-3;18U.S.C.j2)
                     Paragraphs 1 through 9 of the General Allegations Section and paragraphs 1

    through 28 of the A4anner and h4eans Section of Count 1 aré realleged and incorporated by

    reference asthough fully setforth herein.

           2.        On oraboutthedate'setforth in each Countbelow,in the Soutàern Districtof
    Ftoridaand:lsewher:,thedefendant,
                                       JORGE CHERQEZ NH#O,
    w hile in the territory ofthe U nited States,did willfully use and cause to be used and aid, abet,

    counsel,command,induce,and procurethe uséofthemailsand ameansand instrumentality of

    interstate comm erce cqrruptly,and do an actin furtherance ofan offer,paym ent,prom ise to pay,

    and authorization ofthe paym entofm oney,offer,gifq prom ise to give,and authorization ofthe

    giving ofanything of value to a foreign official,and to a person,w hile know ing that al1and a

    portion of such m oney and thing of value w ould be and had been offered,given,and prom ised,

    directly andindirectly,toaforeignofficial,forpurposesof:(i)influencing anactanddecisionof
    such foreign oY cialin hisorherofficialcapacity;(ii)inducing such foreign officialto do and
    omitto do an actin violation ofthe lawfulduty ofsuch official;(iii)securing an improper
    advantage;and (iv)inducing such foreign officialto use his orherintluence with a foreign
    governm entand agenciesand instrum entalitiesthereofto affectand influence an actand decision

    of such governm ent and agencies and instrum entalities,in order to assist JOR G E CH ER REZ

    M I#O and othersin obtaining and retaining businessforand with,and directingbusinessto,

                                                       15
Case 1:21-cr-20528-KMW Document 30 Entered on FLSD Docket 10/15/2021 Page 16 of 22




    JORGE CHEQRFY M lXO,U.S.tnvestmentFttnd Companies,and othdrd,asfollows:ôn pr
     aboutFebrua/ 27,1019,JORGE CH-RRREZ M l#O,whileintheSouthernDistrictofFlorida,
    withdrew ajproximately$16,000in cashfrom thePortafolio.
                                                          '
                                                          1L debitcardaccounttopurchas'
                                                                                      ea
     cashier'scheck payable to a relative ofJO H N LUZURIA GA A GUINA GA in furtheranceofthe

     illegalbribery schem e.

            In violation ofTitle 15,United StatesCode,Section 78dd-),and Title 18,United States

     Code,Section 2.

                                            FO RFEITIJR E
                               (18U.S.C.jj981(a)(1)(C)and982(a)(1))
                   The allegations of this Indictm ent are rezalleged and by .this reference fully

     incorporated herein forthepttrposeofalleging forfeitureto theUnited StatesofAm erica ofcertain

    property in which the defendapts,JORGE CHERREZ M l#O and JOHN LUZURIAGA
    AGUINAGA,have an interest.

                   Upon conviction bfa violation ofTitle l5,United States Code,Section 78dd-2,as

     alleged inthisIndictm ent,thedefendant,JORGE CTTERREZ M 1:0,shallforfeittotheUnited
     States any property,realor personal,w hich constitutes or is derived from proceeds traceable to

     suchoffense,pursuanttoTitle18,UnitedStatesCode,Section98l(a)(1)(C).
            3.     Upon ctmviction ofa violation of Title l8,U nited States Code,Section 1956,as

     allegedthisIndictment,thedefendants,JORGE CHERREZ M I#O andJOHN LUZURIAGA
    A G UINAG A ,shallforfeitto the United States any property,realorpersonal,involved in such

     offense,orany property traceable to such propeo ,pursuantto Title 18,United States Code,

     Section 982(a)(1).
            4.     Thepropertysubjecttoforfeimreasaresultoftheallegedoffensesincludes,butis
     not limited to,a sum of approximately $176,000,000 in U.S.currency,which represents the

                                                      16
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     am ountoffunds involved in theviolatibns ofTitle 18,United States Code,Section 1956 àlleged
                                                            .




     inthisIndictment,anàwhièhmaybeso'ughtasaforfeituremoneyjud/ment.
                  lfahyofthepropertydescribedabovçasbeingsubjecttoforfeiture,asaresultof
     any actorom ission ofthedefendant:

                         cannotbe located upon the exercise ofduediligence;

                         hasjjeentransferredorspldto,ordepositedwith,athirdpaqy;
                         hasbeenplacedbeyondthejurisdictionöftheCpul't;
                         hasbeen substantially dim inished in value;or

                         hasbeen com m ingled w ith otherproperty thatcannotbe dividéd w ithoùt

                         difficulty;

     theUnited Statesshallbe entitled to forfeitureofsubstitutepropeo ,undertheprovisionsof

     Title21,UnitedStatesCode,Section853û$.




                                                     17
Case 1:21-cr-20528-KMW Document 30 Entered on FLSD Docket 10/15/2021 Page 18 of 22




           A1lpursuaqttoTitle18,UflitedStatesCpde,Section982(a)(1),andttaeprocçduressetfol'
                                                                                          th
     in Tttle21,'
                United statescode,section 853,asincorporatrd byTitle 18,United StatesCode!
     982(b)(l).


                                                   A TRU E BILL




                                                   FO REPERSON




     JO SEPH S.BEEM STERBOER
     ACTING CHIEF,FRAU D SECTION
     CIUM INA L DIVISION


                  /: -
     AlexanderK ram er
     Drew Bradylyons
     Jam esM andolfo
     TrialAttorneys
Case 1:21-cr-20528-KMW Document 30 Entered on FLSD Docket 10/15/2021 Page 19 of 22
                                          IJNITEDSTATESmse
                                                         rm è'
                                                             rcotm'
                                                                  r
                                          s4llThàltN DISTRICT oFFluom bA
rNITEP s'rkr
           rEsoFAMEluck                                CASE NO.
 v

JORGE CIIERREZ M INO,and                               C ERTIFICATE O F TRIA L ATTO RNEYA
JOIiN LUZIJRIAGA AGY AGA,
                                                       SIIPerseding CaseIpform ati6n:   .

                            Defendan
                                   ''
                                    ts.       l
Courtbivision:(selecione)        '                     New defendantts)             Yes          'No
 ?'    M iami             KeyW esi                     Numberofnew defendants
       FTL      --        MT B          FTP            Totalnumberofcounts

                lhave carefully considered the allegations ofthe indictment,thenumberofdefendants,thenumberof
                probablewitnessesand the legalcomplexitiesofthelndictment/lnform ation attachedhereto.             .


       2.       ,am awa,ethatthe inormation supplied.on thisstatementwjllberelied upon by thejudgesorthis
                Courtin setting theircalendars and sqheduling crimilialtrials underth8 mM date ofthe Spee
                                                       '                   '..                        YV dv
                                                                                                        ..
                                                                                                          *' 'Trial.       '   '

                Act,Title28U .S.C.Section 3161.                    '                        -   '' '    ..
                Interpreter:         (YesqlrNo) .Yes
                Listlanguageand/ordialect Spanish                           -
                Thiscasewilltake 10 daysforthepqrtiisto try.
        5.      Please check appropriatecategory and type ofoffenselistedbelow:

                (Checkonlyone)                                   (Checkonlyone)
       I        0 to 5 days.                                     Petty
       11       6 to 10 days                                     M inor
                11 to 20 days                                    M isdem.
       IV       21to 60 days                                     Felony             d
       V        61daysand over
       6.       HasthiscasepreviouslybeentiledinthisDistrictCourt?                (YesorNo)        No
         lfyes:Judge                                   CaseNo.
         (Attachcopyofdispositiveorder)
         Hasacomplaintbeenfiledinthismatter?           (YesorNo)           YeS
         lfyes:MajistrateCaseNo.                           21-mi-02326-Louis(Mino);21-mi-02270-AOR(Aauinaaa)
         Relatedm lscellaneousnum bers:
         Defendantts)infederalcustodyasof                  JohnLumlriaeaAmzinaza-2/25/21
         Defendantts)instatecustody asof
         Rule20 from theDistrictof
         Isthisapotentialdeathpenaltycase?(YesorNo)                No
                Doesthiscaseoriginate from am atterpending in theCentralRegion oftheU .S.Attorney'sOftice
                priortoAugust9,2013(M ag.JudgeAlicia0.Valle)?                     Yes              No ?'
        8.      Doesthiscaseoriginate from am atterpending in theN orthern Region ofthe U.S.Attorney'sOffice
                priortoAugust8,2014(M ag.JudgeShaniekMaynard)?                    Yes              No ?'
        9.      Doesthiscaseoriginate from am atterpending in theCentralRegion ofthe U.S.Attorney'sOffice
                priortoOctober3,2019(M ag.JudgeJaredStrauss)?                     Yes              No z

                                                                 ALEXANDER       R
                                                                 DOJTRIAI,ATTORNEY
 *penalty Sheetts)attached                                        CottrtID No.A5502240                       REV6/5/2020
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                            UNITED STATES DISTRICT COURT
                            SOUTH ERN DISTRICT OF FLORIDA

                                      PEN ALT Y SH EET

   D efendant's N am e:Jorae Chen'ez M ino

   Colmt#:1

   Conspiracy to Comm itM oney Launderinc

   Title 18sUnited StatesCode.Section 1956*)

   *M ax.Penalty:20 Y ears'Im prisonm ent

   Cotm ts # 2-3

   M onev Laundering

   Title18.UnitedStatesCodesSections1956(a)(11(A1(i)and2
   *M ax.Penalty:20 Years'lm prisonm ent

   Cotmt# 4-5:

   M onçv Laundering

   Title18.UnitedS'
                  tatesCodesSections1956(a)(1)(B)(i1and2
   *M ax.Penalty:20 Y ears'lm prisonm ent

   Count# 6-7:

   Foreign Com m tPracticesA ct

   Title 15,United StatesCodesSedions78dd-2 and 2

   *M ax.Penalty:5Years'lmpdsonm ent




    SrR efersonly to possible term ofincarceration,does notinclude possible fines,restitution,
              specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:21-cr-20528-KMW Document 30 Entered on FLSD Docket 10/15/2021 Page 21 of 22



   Collnt# 8:

   Foreign Cornm tPractices A ct

   Title 15eUnited StatesCodesSection 78dd-3 and2

   *M ax.Penalty:5 Y ears'Im prisonm ent




    SrR efers only to possible term ofincarceration,doesnotincludepossible fines,restitution,
              specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
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                            UNITED STATES DISTRICT COURT
                            SO U TH ER N DISTRIC T O F FLO R ID A

                                      PEN ALTY SH EET

   Defendant'sNam e:Jolm LuzttriacaAcuinaca

   Cotmt#:1

   Conspiracy to Comm itM onev Latmdering

   Title 18.United StatesCodeeSection 1956(h)

   *M ax.Penalty:20 Y ears'lm prisonm ent

   Cotm ts # 2-3

   M oney Latm derinc

   Title 18,United StatesCode.Sections1956(a)(1)(A)(i)and2
   *M ax.Penalty:20 Years'Im prisonm ent

   Cotmt# 4-5:

   M onev Latm derin:

   Title 18.United StatesCode.Sections 1956(a)(1)(B)(i)and 2

   *M ax.Penalty:20 Y ears'lm prisonm ent




    *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,
             specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
